Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 1 of 8




                                                            Exhibit 5
Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 2 of 8




                                                            Exhibit 5
Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 3 of 8




                                                             Exhibit 5
Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 4 of 8




                                                             Exhibit 5
Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 5 of 8




                                                             Exhibit 5
Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 6 of 8




                                                            Exhibit 5
Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 7 of 8




                                                           Exhibit 5
Case 1:20-cv-01289-MV-JHR Document 9-1 Filed 12/22/20 Page 8 of 8




                                                            Exhibit 5
